                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      Case No. 1:11 CR 161-1
                                                  )
JOHNNY REID EDWARDS,                              )
                                                  )
                                   Defendant.     )


                          NOTICE OF LIMITED APPEARANCE

      PLEASE TAKE NOTICE that the law firm of Tharrington Smith, L.L.P. by and

through Counsel, Wade M. Smith, makes a limited appearance in this proceeding on behalf

of the defendant, Johnny Reid Edwards.

      Respectfully submitted, this the 3rd day of June, 2011.

                                           /s/ Wade M. Smith__________________
                                           Wade M. Smith
                                           NC State Bar No. 4075

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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on June 3, 2011, a copy of the foregoing NOTICE OF

LIMITED APPEARANCE was electronically filed with the Clerk of Court using the CM/ECF

system which will send notification of such filing to the following:

              Mr. George E. B. Holding
              United States Attorney
              US Attorney’s Office – EDNC
              310 New Bern Avenue
              Suite 800, Federal Building
              Raleigh, North Carolina 27601

              Mr. Robert J. Higdon
              United States Attorney
              US Attorney’s Office – EDNC
              310 New Bern Avenue
              Suite 800, Federal Building
              Raleigh, North Carolina 27601

       This the 3rd day of June, 2011.

                                           Respectfully submitted,

                                           /s/ Wade M. Smith__________________
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